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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA

VERSUS                                                           CRIMINAL NO.1:03cr83WJG-1

MARIO QUNTRAY BURKS

                           AGREED ORDER REDUCING SENTENCE

        THIS MATTER is before the Court on the motion for reduction of sentence and the

amended motion for reduction of sentence filed by the Federal Public Defenders Office [FPD] on

behalf of Defendant Mario Quntray Burks, (Ct. R., Docs. 77 & 79), and the pro se motions for

sentence reduction, and for modification of sentence, (Ct. R., Docs. 81 & 82). The Court

considers this case pursuant to its authority under 18 U.S.C. § 3582(c)(2) and Federal Rule of

Criminal Procedure 43(b)(4). The United States Sentencing Commission has reduced guideline

offense levels for cocaine base cases, and has made the reductions retroactive to previously-

sentenced defendants. The parties agree, and the Court concurs, that a sentencing reduction is

appropriate in this case. It is therefore,

        ORDERED AND ADJUDGED, that the motion [77] for reduction of sentence be denied

as moot in light of the corrected amended motion filed by the FPD. It is further,

        ORDERED AND ADJUDGED, that the amended motion [79] for sentence reduction

filed by the FPD and the pro se motion [81] for sentence reduction be, and are hereby, granted. It

is further,

        ORDERED AND ADJUDGED that the second pro se motion [82] for modification of

sentence be granted in part and denied in part as follows: the motion is granted to the extent that

the Court deems Defendant is entitled to a sentence reduction, but denied to the extent that the



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calculations made in the motion are erroneous and would result in an increase of Defendant’s

sentence rather than a reduction. It is further,

       ORDERED AND ADJUDGED that Defendant Mario Quntray Burks’ sentence in this

case is reduced from 84 months to 70 months. It is further,

       ORDERED AND ADJUDGED that all other terms and provisions of the original

judgment remain in full force and effect. It is further,

       ORDERED AND ADJUDGED that the Clerk of Court immediately shall transmit a

certified copy of this agreed order to Bureau of Prisons.

       SO ORDERED on this the 1st day of April, 2008.




                                               UNITED STATES SENIOR DISTRICT JUDGE

AGREED:


 /s John Meynardie                                      /s George L. Lucas
ASSISTANT U.S. ATTORNEY                                 DEFENSE COUNSEL




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